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FORM 8A. Entry of Appearance                                                   Form 8A (p.1)
                                                                                  July 2020


                   UNITED STATES COURT OF APPEALS
                      FOR THE FEDERAL CIRCUIT

                               ENTRY OF APPEARANCE

          Case Number: 23-1980, 23-2076
  Short Case Caption: Juniper Networks, Inc. v. Swarm Technology LLC

 Instructions: Refer to Fed. Cir. R. 47.3 for requirements governing
 representation and appearance in this court. Counsel must immediately file an
 amended Entry of Appearance if contact information changes and update
 information through PACER’s Manage My Account. Non-admitted government
 counsel should enter N/A in lieu of an admission date. Use the second page to
 add additional counsel.

 Party Information. List all parties, intervenors, amicus curiae, or movants
 represented by below counsel; “et al.” is not permitted.

                                 Juniper Networks, Inc.

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 I certify under penalty of perjury that (1) the submitted information is true and
 accurate and (2) I am authorized to enter an appearance by all other listed counsel.
       07/14/2023
 Date: _________________                Signature:    /s/ R. William Sigler

                                        Name:         R. William Sigler
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                                                                                 July 2020

                 [DO NOT SUBMIT THIS PAGE IF IT IS BLANK.]

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